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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    STANADYNE LLC et al.,1                                      Case No. 23-10207 (TMH)

                     Debtors.                                   (Jointly Administered)

                                                                Related Docket No: 297


              MICROSOFT’S RESPONSE TO NOTICE TO CONTRACT PARTIES TO
               POTENTIALLY ASSUMED, ASSIGNED, AND SOLD EXECUTORY
                        CONTRACTS AND UNEXPIRED LEASES

             Microsoft Corporation, by and through its undersigned counsel, respectfully submits the

following response (“Response”) to Debtors’ Notice to Contract Parties to Potentially Assumed,

Assigned, and Sold Executory Contracts and Unexpired Leases (D.I. 297) (the “Notice”).

             1.     Microsoft Corporation (“Microsoft”) and Stanadyne LLC (a/k/a Stanadyne

Corporation) (“Stanadyne”) are parties to Business and Services Agreement U4514052, Master

Agreement E8439453, and Enrollments 72865334 and 88620630 (collectively, the “Licenses”). The

Licenses are cumulative and together comprise the contractual vehicle through which Stanadyne

obtained subscriptions for Microsoft’s products and services. The Licenses are executory contracts

for the non-exclusive license of intellectual property and the payment of royalties as described by

11 U.S.C. § 365(n), and payments due under the Licenses constitute royalties. In re Prize Frize, 32

F.3d 426 (9th Cir. 1994).




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      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
      number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594);
      and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street,
      Jacksonville, North Carolina 28546.
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       2.      Stanadyne proposes to assume and assign two Microsoft contracts, for which the

Notice lists a proposed cure amount of $0. (D.I. 297, page 12 of 16).

       3.      As of the date of this Response, the cure amount listed in the Notice is correct.

However, Microsoft anticipates issuing an additional annual invoice under the Licenses totaling

$5,621.88 on or around August 1, 2023, for the final year of the Licenses as detailed on Exhibit A.

       4.      Accordingly, if Stanadyne intends to assume and assign the Licenses on or after

August 1, 2023, the cure amount will be at least $5,621.88 pursuant to Section 365(b)(1) of the

Bankruptcy Code.

       5.      Microsoft reserves the right to withdraw this Response or revise the stated cure

amount pending further investigation. Depending on the timing of the actual assumption and cure,

the amount owed may increase for unpaid post-petition use of Microsoft’s products and services

under the Licenses.

       WHEREFORE, Microsoft states the cure amount for the Licenses on or after August 1, 2023

is no less than $5,621.88.

 Dated: June 7, 2023                             FOX ROTHSCHILD LLP
                                                 /s/ Stephanie J. Slater
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                                                 2
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 7, 2023, a true and correct copy of the foregoing
MICROSOFT’S RESPONSE TO NOTICE TO CONTRACT PARTIES TO POTENTIALLY
ASSUMED, ASSIGNED, AND SOLD EXECUTORY CONTRACTS AND UNEXPIRED
LEASES was served via the Electronic Case Filing System for the United States Bankruptcy Court
for the District of Delaware to all parties registered to receive such notice.

Also, the parties below were served via email:

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                                                            /s/ Stephanie J. Slater
                                                            Stephanie J. Slater (DE Bar No. 6922)

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                                                                                              Exhibit A
                                                                                        Future Billing Summary



                                Primary Public Ordered Under
Agreement    Primary Customer                                Scheduled Bill                                                                                 Extended     Coverage Start Coverage End
                                  Customer       Purchase                                        Item Name                    Quantity       Price
 Number           Name                                           Date                                                                                       Amount           Date           Date
                                   Number      Order Number

88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      Teams AC with Dial Out US/CA Sub Add-on           1.00     $        -     $          -       8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      Teams Phone Standard Sub Per User                 1.00     $      81.48   $        81.48     8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      M365 F3 FUSL Sub Per User                         1.00     $      93.12   $        93.12     8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      Power BI Pro Sub Per User                         1.00     $     101.88   $       101.88     8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      OneDrive business P2 Sub Per User                 1.00     $     102.00   $       102.00     8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      Teams Phone with Calling US/PR Sub Per User       1.00     $     180.00   $       180.00     8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      Teams International Calling Plan Sub Per User     1.00     $     288.00   $       288.00     8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      Visual Studio Ent MSDN ALng SA                    2.00     $   1,393.20   $     2,786.40     8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      Project P3 Sub Per User                           4.00     $     306.00   $     1,224.00     8/1/2023      7/31/2024
88620630    Stanadyne LLC         8E5EE70C       22028566       8/1/2023      Visio P2 Sub Per User                             5.00     $     153.00   $       765.00     8/1/2023      7/31/2024
                                                                                                                                                        $     5,621.88
